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                                                     PURCHASE AND SALE AGREEMENT

   1        1.    Purchase and Sale. For and in consideration of the mutual covenants herein and other good and valuable consideration,
   2              the receipt and sufficiency of which is hereby acknowledged, the undersigned buyer
   3              _______________________________________________________________________
                         Prime Nashville, LLC.                                                                 (“Buyer”) agrees to buy and the
   4              undersigned seller _________________________________________________________________________
                                                   William B. Young                                                                  (“Seller”)
   5              agrees to sell all that tract or parcel of land, with such improvements as are located thereon, described as follows:
   6              All that tract of land known as: _______________________________________________________________________
                                                                 See Special Stips
   7              (Address) _______________________________________ (City), Tennessee, __________ (Zip), as recorded in
   8              _____________________________ County Register of Deeds Office, _________ deed book(s), _________ page(s),
   9              and/or ______________________________________ instrument number and as further described as:
  10              ___________________________________________________________________________________ together with all
  11              fixtures, landscaping, improvements, and appurtenances, all being hereinafter collectively referred to as the “Property.”
  12              A. INCLUDED as part of the Property (if present): all attached light fixtures and bulbs including ceiling fans;
  13                   permanently attached plate glass mirrors; heating, cooling, and plumbing fixtures and equipment; all doors, storm
  14                   doors and windows; all window treatments (e.g., shutters, blinds, shades, curtains, draperies) and hardware; all wall-
  15                   to-wall carpet; range; all built-in kitchen appliances; all bathroom fixtures and bathroom mirrors; all gas logs,
  16                   fireplace doors and attached screens; all security system components and controls; garage door opener and all (at
  17                   least ____) remote controls; an entry key; swimming pool and its equipment; awnings; permanently installed
  18                   outdoor cooking grills; all landscaping and all outdoor lighting; mailbox(es); attached basketball goals and
  19                   backboards; TV mounting brackets (but excluding flat screen TVs); antennae and satellite dishes (excluding
  20                   components); and central vacuum systems and attachments.
  21              B. Other items that REMAIN with the Property at no additional cost to Buyer:
  22               All appliances currently in homes
  23
  24
  25
  26              C. Items that WILL NOT REMAIN with the Property:
  27               N/A
  28
  29              D. LEASED ITEMS: Leased items that remain with the Property: (e.g., security systems, water softener systems, fuel
  30                 tank, etc.): ____________________________________________________________________________________.
  31                 Buyer shall assume any and all lease payments as of Closing. If leases are not assumable, the balance shall be paid
  32                 in full by Seller at or before Closing.
  33                 ✘
                     □ Buyer does not wish to assume a leased item. (THIS BOX MUST BE CHECKED IN ORDER FOR IT TO
  34                      BE A PART OF THIS AGREEMENT.)
  35                      Buyer does not wish to assume Seller’s current lease of ____________________________________________;
  36                      therefore, Seller shall have said lease cancelled and leased items removed from Property prior to Closing.
  37              E. FUEL: Fuel, if any, will be adjusted and charged to Buyer and credited to Seller at Closing at current market prices.
  38        2.    Purchase Price, Method of Payment and Closing Expenses. Buyer warrants that, except as may be otherwise
  39              provided herein, Buyer will at Closing have sufficient cash to complete the purchase of the Property under the terms of
  40              this Purchase and Sale Agreement (hereinafter “Agreement”).                   The purchase price to be paid is:
  41              $____________________,
                          500,000.00          ________________________________________________________________
                                                                        Five Hundred Thousand                                  U.S. Dollars,
  42              (“Purchase Price”) which shall be disbursed to Seller or Seller’s Closing Agency by one of the following methods:
  43                  i. a Federal Reserve Bank wire transfer;
  44                  ii. a Cashier’s Check issued by a financial institution as defined in 12 CFR § 229.2(i); OR
  45                  iii. other such form as is approved in writing by Seller.
  46              A. Financial Contingency – Loan(s) To Be Obtained. This Agreement is conditioned upon Buyer’s ability to obtain
  47                  a loan(s) in the principal amount up to _________%
                                                                   80        of the Purchase Price listed above to be secured by a deed of
  48                  trust on the Property. “Ability to obtain” as used herein means that Buyer is qualified to receive the loan described
                                                                                            Martha Montiel-Lewis
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  49                 herein based upon Lender’s customary and standard underwriting criteria. In consideration of Buyer, having acted
  50                 in good faith and in accordance with the terms below, being unable to obtain financing by the Closing Date, the
  51                 sufficiency of such consideration being hereby acknowledged, Buyer may terminate this Agreement by providing
  52                 written notice via the Notification form or equivalent written notice. Seller shall have the right to request any
  53                 supporting documentation regarding loan denial. Upon termination, Buyer is entitled to a refund of the Earnest
  54                 Money/Trust Money. Lender is defined herein as the financial institution funding the loan.
  55                 The loan shall be of the type selected below (Select the appropriate boxes. Unselected items will not be part of
  56                 this Agreement):
  57                 □ Conventional Loan                                  □ FHA Loan; attach addendum
  58                 □ VA Loan; attach addendum                           ✘
                                                                          □ Other _____________________________________________
                                                                                                         Construction
  59                 Buyer may apply for a loan with different terms and conditions and also Close the transaction provided all other
  60                 terms and conditions of this Agreement are fulfilled, and the new loan does not increase any costs charged to Seller.
  61                 Buyer shall be obligated to Close this transaction if Buyer has the ability to obtain a loan with terms as described
  62                 herein and/or any other loan for which Buyer has applied and been approved.
  63                 Loan Obligations: The Buyer agrees and/or certifies as follows:
  64                      (1) Within three (3) days after the Binding Agreement Date, Buyer shall make application for the loan and
  65                            shall pay for credit report. Buyer shall immediately notify Seller or Seller’s representative of having
  66                            applied for the loan and provide Lender’s name and contact information, and that Buyer has instructed
  67                            Lender to order credit report. Such certifications shall be made via the Notification form or equivalent
  68                            written notice;
  69                      (2) Within fourteen (14) days after the Binding Agreement Date, Buyer shall warrant and represent to Seller
  70                            via the Notification form or equivalent written notice that:
  71                                 a. Buyer has secured evidence of hazard insurance which will be effective at Closing and Buyer shall
  72                                      notify Seller of the name of the hazard insurance company;
  73                                 b. Buyer has notified Lender of an Intent to Proceed and has available funds to Close per the signed
  74                                      Loan Estimate; and
  75                                 c. Buyer has requested that the appraisal be ordered and affirms that the appraisal fee has been paid.
  76                      (3) Buyer shall pursue qualification for and approval of the loan diligently and in good faith;
  77                      (4) Buyer shall continually and immediately provide requested documentation to Lender and/or loan
  78                            originator;
  79                      (5) Unless otherwise stated in this Agreement, Buyer represents that this loan is not contingent upon the lease
  80                            or sale of any other real property and the same shall not be used as the basis for loan denial; and
  81                      (6) Buyer shall not intentionally make any material changes in Buyer’s financial condition which would
  82                            adversely affect Buyer’s ability to obtain the Primary Loan or any other loan referenced herein.
  83                 Should Buyer fail to timely comply with section 2.A.(1) and/or 2.A.(2) above and provide notice as required, Seller
  84                 may make written demand for compliance via the Notification form or equivalent written notice. If Buyer does not
  85                 furnish Seller the requested documentation within two (2) days after such demand for compliance, Buyer shall be
  86                 considered in default and Seller’s obligation to sell is terminated.
  87        □     B. Financing Contingency Waived (THIS BOX MUST BE CHECKED TO BE PART OF THIS AGREEMENT.)
  88                 (e.g. “All Cash”, etc.): Buyer’s obligation to close shall not be subject to any financial contingency. Buyer reserves
  89                 the right to obtain a loan. Buyer will furnish proof of available funds to close in the following manner:
  90                 _____________________________________ (e.g. bank statement, Lender’s commitment letter) within five (5)
  91                 days after Binding Agreement Date. Should Buyer fail to do so, Seller may make written demand for compliance
  92                 via the Notification form or equivalent written notice. If Buyer does not furnish Seller with the requested notice
  93                 within two (2) days after such demand for compliance, Buyer shall be considered in default and Seller’s obligation
  94                 to sell is terminated. Failure to Close due to lack of funds shall be considered default by Buyer.
 95                  In the event this Agreement is contingent upon an appraisal (See Paragraph 2.C. below), Buyer must order the
 96                  appraisal and provide Seller with the name and telephone number of the appraisal company and proof that appraisal
 97                  was ordered within five (5) days of the Binding Agreement Date. Should Buyer fail to do so, Seller may make
 98                  written demand for compliance via the Notification form or equivalent written notice. If Buyer does not furnish
 99                  Seller with the requested notice within two (2) days after such demand for compliance, Buyer shall be considered in
100                  default and Seller’s obligation to sell is terminated.
101               C. Appraisal (Select either 1 or 2 below. The sections not checked are not a part of this Agreement).
102                  ✘
                     □ 1. This Agreement IS NOT contingent upon the appraised value either equaling or exceeding the agreed upon
103                             Purchase Price.
                                                                                            Martha Montiel-Lewis
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104                   □     2.This Agreement IS CONTINGENT upon the appraised value either equaling or exceeding the agreed
105                           upon Purchase Price. If the appraised value is equal to or exceeds Purchase Price, this contingency is
106                           satisfied. In consideration of Buyer having conducted an appraisal, the sufficiency of such consideration
107                           being hereby acknowledged, if the appraised value of the Property does not equal or exceed the Purchase
108                           Price, Buyer shall promptly notify the Seller via the notification form or written equivalent notice. Buyer
109                           shall then have 3 days to either:
110                                1. waive the appraisal contingency via the notification form or equivalent written notice
111                                     OR
112                                2. terminate the agreement by giving notice to seller via the notification form or equivalent written
113                                     notice. Upon timely termination, Buyer is entitled to a refund of the Earnest money.
114                           In the event buyer fails to either waive the appraisal or terminate the agreement as set forth above, this
115                           contingency shall be deemed satisfied. Thereafter, failure to appraise shall not be used as the basis for loan
116                           denial or termination of contract. Seller shall have the right to request any supporting documentation
117                           showing appraised value did not equal or exceed the agreed upon purchase price.
118              D. Closing Expenses.
119                  1. Seller Expenses. Seller shall pay all existing loans and/or liens affecting the Property, including all penalties,
120                      release preparation costs, and applicable recording costs; any accrued and/or outstanding association dues or
121                      fees; fee (if any) to obtain lien payoff/estoppel letters/statement of accounts from any and all associations,
122                      property management companies, mortgage holders or other liens affecting the Property; Seller’s closing fee,
123                      document preparation fee and/or attorney’s fees; fee for preparation of deed; notary fee on deed; and financial
124                      institution (Bank, Credit Union, etc.) wire transfer fee or commercial courier service fee related to the
125                      disbursement of any lien payoff(s). Seller additionally agrees to permit any withholdings and/or to pay any
126                      additional sum due as is required under the Foreign Investment in Real Property Tax Act. Failure to do so will
127                      constitute a default by Seller.
128                      In the event Seller is subject to Tax Withholding as required by the Foreign Investment in Real Property
129                      Tax Act, (hereinafter “FIRPTA”), Seller additionally agrees that such Tax Withholding must be collected
130                      from Seller by Buyer’s Closing Agent at the time of Closing. In the event Seller is not subject to FIRPTA,
131                      Seller shall be required as a condition of Closing to sign appropriate affidavits certifying that Seller is not
132                      subject to FIRPTA. It is Seller’s responsibility to seek independent tax advice or counsel prior to the Closing
133                      Date regarding such tax matters.
134                  2. Buyer Expenses. Buyer shall pay all transfer taxes and recording fees on deed of conveyance and deed of trust;
135                      Buyer’s closing fee, document preparation fee and/or attorney’s fees; preparation of note, deed of trust, and
136                      other loan documents; mortgage loan inspection or boundary line survey; credit report; required premiums for
137                      private mortgage, hazard and flood insurance; required reserved deposits for insurance premiums and taxes;
138                      prepaid interest; re-inspection fees pursuant to appraisal; insured Closing Protection Letter; association fees as
139                      stated within paragraph 4.E.; and any costs incident to obtaining and closing a loan, including but not limited to:
140                      appraisal, origination, discount points, application, commitment, underwriting, document review, courier,
141                      assignment, photo, tax service, notary fees, and any wire fee or other charge imposed for the disbursement of
142                      the Seller’s proceeds according to the terms of this Agreement.
143                  3. Title Expenses. Cost of title search, mortgagee's policy and owner's policy (rates to be as filed with the
144                      Tennessee Department of Commerce and Insurance) shall be paid as follows:
145                      _________________________________________________________________________________________.
                                                                    To be paid by seller
146                      Simultaneous issue rates shall apply.
147              Not all of the above items (Seller Expenses, Buyer Expenses and Title Expenses) are applicable to every
148              transaction and may be modified as follows:
149              _________________________________________________________________________________________________
150              _________________________________________________________________________________________________
151              Closing Agency for Buyer: ______________________________________________________________________
                                                                       Wagon Wheel Title and Escrow
152              Closing Agency for Seller: ______________________________________________________________________
                                                                      Wagon Wheel Title and Escrow
153        3.    Earnest Money/Trust Money. Buyer has paid or will pay within _______
                                                                                 8    days after the Binding Agreement Date to
154              _________________________________________________________________
                                      Wagon Wheel Title and Escrow                           (name of Holder) (“Holder”) located at
155              _________________________________________________________________
                                  204 S 11th St, Nashville, TN 37206                         (address of Holder), a Earnest
156              Money/Trust Money deposit of $_______________
                                                     20,000      by check (OR
157              _____________________________________________) (“Earnest Money/Trust Money”).
158              A. Failure to Receive Earnest Money/Trust Money. In the event Earnest Money/Trust Money (if applicable) is not
159                  timely received by Holder or Earnest Money/Trust Money check or other instrument is not honored for any reason
                                                                                              Martha Montiel-Lewis
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160                 by the bank upon which it is drawn, Holder shall promptly notify Buyer and Seller of the Buyer’s failure to deposit
161                 the agreed upon Earnest Money/Trust Money. Buyer shall then have one (1) day to deliver Earnest Money/Trust
162                 Money in immediately available funds to Holder. In the event Buyer does not deliver such funds, Buyer is in default
163                 and Seller shall have the right to terminate this Agreement by delivering to Buyer or Buyer’s representative written
164                 notice via the Notification form or equivalent written notice. In the event Buyer delivers the Earnest Money/Trust
165                 Money in immediately available funds to Holder before Seller elects to terminate, Seller shall be deemed to have
166                 waived his right to terminate, and the Agreement shall remain in full force and effect.
167              B. Handling of Earnest Money/Trust Money upon Receipt by Holder. Earnest Money/Trust Money (if applicable)
168                 is to be deposited promptly after the Binding Agreement Date or the agreed upon delivery date in this Earnest
169                 Money/Trust Money paragraph or as specified in the Special Stipulations paragraph contained at paragraph 19
170                 herein. Holder shall disburse Earnest Money/Trust Money only as follows:
171                           (a) at Closing to be applied as a credit toward Buyer’s Purchase Price;
172                           (b) upon a written agreement signed by all parties having an interest in the funds;
173                           (c) upon order of a court or arbitrator having jurisdiction over any dispute involving the Earnest
174                                Money/Trust Money;
175                           (d) upon a reasonable interpretation of the Agreement; or
176                           (e) upon the filing of an interpleader action with payment to be made to the clerk of the court having
177                                jurisdiction over the matter.
178                 Holder shall be reimbursed for, and may deduct from any funds interpleaded, its costs and expenses, including
179                 reasonable attorney’s fees. The prevailing party in the interpleader action shall be entitled to collect from the other
180                 party the costs and expenses reimbursed to Holder. No party shall seek damages from Holder (nor shall Holder be
181                 liable for the same) for any matter arising out of or related to the performance of Holder’s duties under this Earnest
182                 Money/Trust Money paragraph. Earnest Money/Trust Money shall not be disbursed prior to fourteen (14) days after
183                 deposit unless written evidence of clearance by bank is provided.
184        4.    Closing, Prorations, Special Assessments and Warranties Transfer.
185              A. Closing Date. This transaction shall be closed (“Closed”) (evidenced by delivery of warranty deed and payment of
186                  Purchase Price, the “Closing”), and this Agreement shall expire, at 11:59 p.m. local time on the _______   10th day of
187                  _________________________,
                                  August               __________(“Closing
                                                          2018                 Date”), or on such earlier date as may be agreed to by the
188                  parties in writing. Such expiration does not extinguish a party’s right to pursue remedies in the event of default.
189                  Any extension of this date must be agreed to by the parties in writing via the Closing Date/Possession Date
190                  Amendment or equivalent written agreement.
191                  1. Possession. Possession of the Property is to be given (Select the appropriate boxes below. Unselected items
192                       will not be part of this Agreement):
193                       ✘
                          □ at Closing as evidenced by delivery of warranty deed and payment of Purchase Price;
194                  OR
195                       □ as agreed in the attached and incorporated Temporary Occupancy Agreement;
196              B. Prorations. Real estate taxes, rents, dues, maintenance fees, and association fees on said Property for the calendar
197                  year in which the sale is Closed shall be prorated as of the Closing Date. In the event of a change or reassessment of
198                  taxes for the calendar year after Closing, the parties agree to pay their recalculated share. Real estate taxes, rents,
199                  dues, maintenance fees, and association fees for prior years and roll back taxes, if any, will be paid by Seller.
200              C. Special Assessments. Special assessments approved or levied prior to the Closing Date shall be paid by the Seller
201                  at or prior to Closing unless otherwise agreed as follows:
202                  _____________________________________________________________________________________________.
203              D. Warranties Transfer. Seller, at the option of Buyer and at Buyer’s cost, agrees to transfer Seller’s interest in any
204                  manufacturer’s warranties, service contracts, termite bond or treatment guarantee and/or similar warranties which by
205                  their terms may be transferable to Buyer.
206              E. Association Fees. Buyer shall be responsible for all homeowner or condominium association transfer fees, related
207                  administration fees (not including statement of accounts), capital expenditures/contributions incurred due to the
208                  transfer of Property and/or like expenses which are required by the association, property management company
209                  and/or the bylaws, declarations or covenants for the Property (unless otherwise specifically addressed herein and/or
210                  unless specifically chargeable to Seller under applicable bylaws, declarations, and/or neighborhood covenants).
211        5.    Title and Conveyance.
212              A. Seller warrants that at the time of Closing, Seller will convey or cause to be conveyed to Buyer or Buyer’s assign(s)
213                   good and marketable title to said Property by general warranty deed, subject only to:
214                       (1) zoning;
                                                                                           Martha Montiel-Lewis
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215                       (2) setback requirements and general utility, sewer, and drainage easements of record on the Binding
216                            Agreement Date upon which the improvements do not encroach;
217                       (3) subdivision and/or condominium declarations, covenants, restrictions, and easements of record on the
218                            Binding Agreement Date; and
219                       (4) leases and other encumbrances specified in this Agreement.
220                 If title examination, closing or loan survey pursuant to Tenn. Code Ann. § 62-18-126, boundary line survey, or other
221                 information discloses material defects, Buyer may, at Buyer's discretion:
222                       (1) accept the Property with the defects OR
223                       (2) require Seller to remedy such defects prior to the Closing Date. Buyer shall provide Seller with written
224                            notice of such defects via the Notification form or equivalent written notice. If defects are not remedied
225                            prior to Closing Date, Buyer and Seller may elect to extend the Closing Date by mutual written agreement
226                            evidenced by the Closing Date/Possession Amendment form or other written equivalent. If defects are not
227                            remedied by the Closing Date or any mutually agreed upon extension thereof, this Agreement shall
228                            terminate, and Buyer shall be entitled to refund of Earnest Money/Trust Money.
229                 Good and marketable title as used herein shall mean title which a title insurance company licensed to do business in
230                 Tennessee will insure at its regular rates, subject only to standard exceptions. The title search or abstract used for
231                 the purpose of evidencing good and marketable title must be acceptable to the title insurance agent and the issuing
232                 title insurance company. Seller agrees to execute such appropriate affidavits and instruments as may be required by
233                 the issuing title insurance company.
234              B. Deed. Deed is to be made in the name of ___________________________________________________________.
                                                                              Prime Nashville, LLC. and/or assigns
235                 The manner in which Buyer takes title determines ownership and survivorship rights. It is the Buyer’s responsibility
236                 to consult the closing agency or attorney prior to Closing.
237        6.    Lead-Based Paint Disclosure (Select the appropriate box. Items not selected are not part of this Agreement).
238              □ does not apply.       ✘
                                         □ does apply (Property built prior to 1978).
239        7.    Inspections.
240              A. Buyer’s Right to Make Inspection(s). All inspections/reports, including but not limited to the home inspection
241                  report, those required/recommended in the home inspection report, Wood Destroying Insect Infestation
242                  Inspection Report, septic inspection and well water test, are to be made at Buyer's expense, unless otherwise
243                  stipulated in this Agreement. The parties hereto agree that in the event Buyer shall elect to contract with a third
244                  party inspector to obtain a “Home Inspection” as defined by Tennessee law, said inspection shall be conducted by a
245                  licensed Home Inspector. However, nothing in this paragraph shall preclude Buyer from conducting any inspections
246                  on his/her own behalf, nor shall it preclude Buyer from retaining a qualified (and if required by law, licensed)
247                  professional to conduct inspections of particular systems or issues within such professional’s expertise or licensure,
248                  including but not limited to inspection of the heating/cooling systems, electrical systems, foundation, etc., so long as
249                  said professional is not in violation of Tenn. Code Ann. § 62-6-301, et seq. as may be amended. Seller shall cause
250                  all utility services and any pool, spa, and similar items to be operational so that Buyer may complete all
251                  inspections and tests under this Agreement. Buyer agrees to indemnify Seller from the acts of himself, his
252                  inspectors and/or representatives in exercising his rights under this Purchase and Sale Agreement. Buyer’s
253                  obligations to indemnify Seller shall also survive the termination of this Agreement by either party, which shall
254                  remain enforceable. Buyer waives any objections to matters of purely cosmetic nature (e.g. decorative, color or
255                  finish items) disclosed by inspection. Buyer has no right to require repairs or alterations purely to meet
256                  current building codes, unless required to do so by governmental authorities.
257              B. Initial Inspections. Buyer and/or his inspectors/representatives shall have the right and responsibility to enter the
258                 Property during normal business hours, for the purpose of making inspections and/or tests of the Property. Buyer
259                 and/or his inspectors/representatives shall have the right to perform a visual analysis of the condition of the
260                 Property, any reasonably accessible installed components, the operation of the Property’s systems, including any
261                 controls normally operated by Seller including the following components: heating systems, cooling systems,
262                 electrical systems, plumbing systems, structural components, foundations, roof coverings, exterior and interior
263                 components, any other site aspects that affect the Property, and environmental issues.
264              C. Wood Destroying Insect Infestation Inspection Report. If desired by Buyer or required by Buyer’s Lender, it
265                 shall be Buyer’s responsibility to obtain at Buyer’s expense a Wood Destroying Insect Infestation Inspection Report
266                 (the “Report”), which shall be made by a Tennessee licensed and chartered pest control operator.
267                 The foregoing expense may be subject to governmental guidelines relating to VA Loans (See VA/FHA Loan
268                 Addendum if applicable).
                                                                                           Martha Montiel-Lewis
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269                 The inspection shall include each dwelling, garage, and other permanent structure on the Property excluding
270                 _____________________________________________________ for evidence of active infestation and/or damage.
271                 Buyer shall cause such Report to be delivered to Seller simultaneously with any repairs requested by the Buyer or
272                 the end of the Inspection Period, whichever is earlier. If the Report indicates evidence of active infestation, Seller
273                 agrees to treat infestation at Seller’s expense and provide documentation of the treatment to Buyer prior to Closing.
274                 Requests for repair of damage, if any, should be addressed in the Buyer's request for repairs pursuant to
275                 Subparagraph 8.D., Buyer’s Inspection and Resolution below.
276              D. Buyer’s Inspection and Resolution. Within ________    10      days after the Binding Agreement Date (“Inspection
277                 Period”), Buyer shall cause to be conducted any inspection provided for herein, including but not limited to the
278                 Wood Destroying Insect Infestation Inspection Report AND shall provide written notice of such to Seller as
279                 described below. In the event Buyer fails to timely make such inspections and respond within said timeframe as
280                 described herein, the Buyer shall have forfeited any rights provided under this Section 7, and in such case shall
281                 accept the Property in its current condition, normal wear and tear excepted.
282                 In said notice Buyer shall either:
283                      (1) In consideration of Buyer having conducted Buyer’s good faith inspections as provided for herein, the
284                          sufficiency of such consideration being hereby acknowledged, Buyer shall furnish Seller with a list of
285                          written specified objections and immediately terminate this Agreement via the Notification form or
286                          equivalent written notice. All Earnest Money/Trust Money shall be returned to Buyer upon termination.
287                 OR
288                     (2) accept the Property in its present “AS IS” condition with any and all faults and no warranties expressed or
289                          implied via the Notification form or equivalent written notice. Seller has no obligation to make repairs.
290                 OR
291                     (3) furnish Seller a written list of items which Buyer requires to be repaired and/or replaced with like quality or
292                          value in a professional and workmanlike manner. Seller shall have the right to request any supporting
293                          documentation that substantiates any item listed.
294                               a. Resolution Period. Seller and Buyer shall then have a period of ______ 3    days following receipt of
295                                   the above stated written list (“Resolution Period”) to reach a mutual agreement as to the items to
296                                   be repaired or replaced with like quality or value by Seller, which shall be evidenced by the
297                                   Repair / Replacement Amendment or written equivalent(s). The parties agree to negotiate repairs
298                                   in good faith during the Resolution Period. In the event Seller and Buyer do not reach a mutual
299                                   written resolution during such Resolution Period or a mutually agreeable written extension thereof
300                                   as evidenced in an Amendment to this Agreement signed by both parties within said period of
301                                   time, this Agreement is hereby terminated. If terminated, Buyer is entitled to a refund of the
302                                   Earnest Money/Trust Money.
303              □ E. Waiver of All Inspections. THIS BOX MUST BE CHECKED TO BE PART OF THIS AGREEMENT.
304                   Buyer, having been advised of the benefits of inspections, waives any and all Inspection Rights under this
305                   Section 7 (including but not limited to the Wood Destroying Insect Infestation Inspection Report).
306        8.    Final Inspection. Buyer and/or his inspectors/representatives shall have the right to conduct a final inspection of
307              Property on the Closing Date or within ___2 day(s) prior to the Closing Date only to confirm Property is in the same or
308              better condition as it was on the Binding Agreement Date, normal wear and tear excepted, and to determine that all
309              repairs/replacements agreed to during the Resolution Period, if any, have been completed. Property shall remain in such
310              condition until Closing at Seller’s expense. Closing of this sale constitutes acceptance of Property in its condition as of
311              the time of Closing, unless otherwise noted in writing.
312        9.    Buyer’s Additional Due Diligence Options. If any of the matters below are of concern to Buyer, Buyer should address
313              the concern by specific contingency in the Special Stipulations Paragraph of this Agreement.
314              A. Survey and Flood Certification. Survey Work and Flood Certifications are the best means of identifying boundary
315                   lines and/or encroachments and easements or flood zone classifications. Buyer may obtain a Mortgage Inspection or
316                   Boundary Line Survey and Flood Zone Certifications.
317              B. Insurability. Many different issues can affect the insurability and the rates of insurance for property. These include
318                   factors such as changes in the Flood Zone Certifications, changes to the earthquake zones maps, the insurability of
319                   the buyer, and previous claims made on the Property. It is the right and responsibility of Buyer to determine the
320                   insurability, coverage and the cost of insuring the Property. It is also the responsibility of Buyer to determine
321                   whether any exclusions will apply to the insurability of said Property.


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322              C. Water Supply. The system may or may not meet state and local requirements. It is the right and responsibility of
323                 Buyer to determine the compliance of the system with state and local requirements. [For additional information on
324                 this subject, request the “Water Supply and Waste Disposal Notification” form.]
325            D. Waste Disposal. The system may or may not meet state and local requirements. It is the right and responsibility of
326                 Buyer to determine the compliance of the system with state and local requirements. In addition, Buyer may, for a
327                 fee, obtain a septic system inspection letter from the Tennessee Department of Environment and Conservation,
328                 Division of Ground Water Protection. [For additional information on this subject, request the “Water Supply and
329                 Waste Disposal Notification” form.]
330            E. Title Exceptions. At Closing, the general warranty deed will be subject to subdivision and/or condominium
331                 declarations, covenants, restrictions and easements of record, which may impose obligations and may limit the use
332                 of the Property by Buyer.
333        10. Disclaimer. It is understood and agreed that the real estate firms and real estate licensee(s) representing or assisting
334            Seller and/or Buyer and their brokers (collectively referred to as “Brokers”) are not parties to this Agreement and do not
335            have or assume liability for the performance or nonperformance of Seller or Buyer. Buyer and Seller agree that Brokers
336            shall not be responsible for any of the following, including but not limited to, those matters which could have been
337            revealed through a survey, flood certification, title search or inspection of the Property; the insurability of the Property or
338            cost to insure the Property; for the condition of the Property, any portion thereof, or any item therein; for any geological
339            issues present on the Property; for any issues arising out of the failure to physically inspect Property prior to entering
340            into this Agreement and/or Closing; for the necessity or cost of any repairs to the Property; for hazardous or toxic
341            materials; for the tax or legal consequences of this transaction; for the availability, capability, and/or cost of utility,
342            sewer, septic, or community amenities; for any proposed or pending condemnation actions involving Property; for
343            applicable boundaries of school districts or other school information; for the appraised or future value of the Property;
344            for square footage or acreage of the Property; for any condition(s) existing off the Property which may affect the
345            Property; for the terms, conditions, and availability of financing; and/or for the uses and zoning of the Property whether
346            permitted or proposed. Buyer and Seller acknowledge that Brokers are not experts with respect to the above matters and
347            that they have not relied upon any advice, representations or statements of Brokers (including their firms and affiliated
348            licensees) and waive and shall not assert any claims against Brokers (including their firms and affiliated licensees)
349            involving same. Buyer and Seller understand that it has been strongly recommended that if any of these or any other
350            matters concerning the Property are of concern to them, that they secure the services of appropriately credentialed
351            experts and professionals of Buyer’s or Seller’s choice for the independent expert advice and counsel relative thereto.
352        11. Brokerage. As specified by separate agreement, Seller agrees to pay Listing Broker at Closing the agreed upon
353            compensation. The Listing Broker will direct the closing agency to pay the Selling Broker, from the compensation
354            received, an amount in accordance with the terms and provisions specified by separate agreement. The parties agree and
355            acknowledge that the Brokers involved in this transaction may receive compensation from more than one party. All
356            parties to this Agreement agree and acknowledge that any real estate firm involved in this transaction shall be deemed a
357            third party beneficiary only for the purposes of enforcing their commission rights, and as such, shall have the right to
358            maintain an action on this Agreement for any and all compensations due and any reasonable attorney’s fees and court
359            costs.
360        12. Default. Should Buyer default hereunder, the Earnest Money/Trust Money shall be forfeited as damages to Seller and
361            shall be applied as a credit against Seller’s damages. Seller may elect to sue, in contract or tort, for additional damages
362            or specific performance of the Agreement, or both. Should Seller default, Buyer’s Earnest Money/Trust Money shall be
363            refunded to Buyer. In addition, Buyer may elect to sue, in contract or tort, for damages or specific performance of this
364            Agreement, or both. In the event that any party hereto shall file suit for breach or enforcement of this Agreement
365            (including suits filed after Closing which are based on or related to the Agreement), the prevailing party shall be entitled
366            to recover all costs of such enforcement, including reasonable attorney’s fees. In the event that any party exercises its
367            right to terminate due to the default of the other pursuant to the terms of this Agreement, the terminating party retains the
368            right to pursue any and all legal rights and remedies against the defaulting party following termination. The parties
369            hereby agree that all remedies are fair and equitable and neither party will assert the lack of mutuality of remedies, rights
370            and/or obligations as a defense in the event of a dispute.

371        13. Home Protection Plan. This is not a substitution for Home Inspection. Exclusions to coverage may apply. (Select the
372            appropriate box below. Items not selected are not part of this Agreement).
373            □ Home Protection Plan. ______________________________ to pay $________ for the purchase of a limited home
374               protection plan to be funded at Closing. Plan Provider: ________________________________________________.
375               Ordered by: ________________________________________________________________ (Real Estate Company)
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376             ✘
                □ Home Protection Plan waived.

377        14. Other Provisions.
378            A. Binding Effect, Entire Agreement, Modification, Assignment, and Binding Agreement Date. This Agreement
379               shall be for the benefit of, and be binding upon, the parties hereto, their heirs, successors, legal representatives and
380               assigns. This Agreement constitutes the sole and entire agreement between the parties hereto and no modification of
381               this Agreement shall be binding unless signed by all parties or assigns to this Agreement. No representation,
382               promise, or inducement not included in this Agreement shall be binding upon any party hereto. It is hereby agreed
383               by both Buyer and Seller that any real estate agent working with or representing either party shall not have the
384               authority to bind the Buyer, Seller or any assignee to any contractual agreement unless specifically authorized in
385               writing within this Agreement. Any assignee shall fulfill all the terms and conditions of this Agreement. The
386               parties hereby authorize either licensee to insert the time and date of receipt of the notice of acceptance of the final
387               offer and further agree to be bound by such as the Binding Agreement Date following the signatory section of this
388               Agreement, or Counter Offer, if applicable.
389              B. Survival Clause. Any provision contained herein, which by its nature and effect is required to be performed after
390                 Closing, shall survive the Closing and delivery of the deed and shall remain binding upon the parties to this
391                 Agreement and shall be fully enforceable thereafter.
392              C. Governing Law and Venue. This Agreement is intended as a contract for the purchase and sale of real property
393                 and shall be governed by and interpreted in accordance with the laws and in the courts of the State of Tennessee.
394              D. Time of Essence. Time is of the essence in this Agreement.
395              E. Terminology. As the context may require in this Agreement: (1) the singular shall mean the plural and vice versa;
396                 (2) all pronouns shall mean and include the person, entity, firm or corporation to which they relate; (3) the masculine
397                 shall mean the feminine and vice versa; and (4) the term day(s) used throughout this Agreement shall be deemed to
398                 be calendar day(s) ending at 11:59 p.m. local time unless otherwise specified in this Agreement. Local time shall be
399                 determined by the location of Property. In the event a performance deadline, other than the Closing Date (as
400                 defined in paragraph 4 herein), Date of Possession (as defined in paragraph 4 herein), Completion of Repair
401                 Deadline (as defined in the Repair/Replacement Amendment), and Offer Expiration Date (as defined in paragraph
402                 20 herein), occurs on a Saturday, Sunday or legal holiday, the performance deadline shall extend to the next
403                 following business day. Holidays as used herein are those days deemed federal holidays pursuant to 5 U.S.C. §
404                 6103. In calculating any time period under this Agreement, the commencement shall be the day following the initial
405                 date (e.g. Binding Agreement Date).
406              F. Responsibility to Cooperate. Buyer and Seller agree to timely take such actions and produce, execute, and/or
407                 deliver such information and documentation as is reasonably necessary to carry out the responsibilities and
408                 obligations of this Agreement. Except as to matters which are occasioned by clerical errors or omissions or
409                 erroneous information, the approval of the closing documents by the parties shall constitute their approval of any
410                 differences between this Agreement and the Closing. Buyer and Seller agree that if requested after Closing, they
411                 will correct any documents and pay any amounts due where such corrections or payments are appropriate by reason
412                 of mistake, clerical errors or omissions, or the result of erroneous information.
413              G.    Notices. Except as otherwise provided herein, all notices and demands required or permitted hereunder shall be in
414                   writing and delivered either (1) in person; (2) by a prepaid overnight delivery service; (3) by facsimile transmission
415                   (FAX); (4) by the United States Postal Service, postage prepaid, registered or certified, return receipt requested; or
416                   (5) Email. NOTICE shall be deemed to have been given as of the date and time it is actually received. Receipt of
417                   notice by the real estate licensee or their Broker assisting a party as a client or customer shall be deemed to be notice
418                   to that party for all purposes under this Agreement as may be amended, unless otherwise provided in writing.
419              H. Risk of Loss. The risk of hazard or casualty loss or damage to Property shall be borne by the Seller until transfer of
420                 title. If casualty loss prior to Closing exceeds 10% of the Purchase Price, Seller or Buyer may elect to terminate this
421                 Agreement with a refund of Earnest Money/Trust Money to Buyer.
422              I.   Equal Housing. This Property is being sold without regard to race, color, sex, religion, handicap, familial status, or
423                   national origin.
424              J.   Severability. If any portion or provision of this Agreement is held or adjudicated to be invalid or unenforceable for
425                   any reason, each such portion or provision shall be severed from the remaining portions or provisions of this
426                   Agreement, and the remaining portions or provisions shall be unaffected and remain in full force and effect. In the

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427                   event that the contract fails due to the severed provisions, then the offending language shall be amended to be in
428                   conformity with state and federal law.
429              K. Contract Construction. This Agreement or any uncertainty or ambiguity herein shall not be construed against any
430                 party but shall be construed as if all parties to this Agreement jointly prepared this Agreement.
431              L. Section Headings. The Section Headings as used herein are for reference only and shall not be deemed to vary the
432                 content of this Agreement or limit the scope of any Section.

433        15. Seller’s Additional Obligations. If Seller has any knowledge of an exterior injection well, a sinkhole as defined
434            pursuant to Tenn. Code Ann. § 66-5-212(c), and/or a percolation test or soil absorption rate on the Property, Seller shall
435            be obligated to counter this offer by disclosure of the existence of the above including any tests and reports unless
436            disclosure has already been received and acknowledged in writing by Buyer. Seller shall also disclose in the same
437            manner whether any single family residence located on the Property has been moved from an existing foundation to
438            another foundation where such information is known to the Seller. Seller shall also be obligated to counter this offer to
439            disclose if the Property is located in a Planned Unit Development (PUD) as defined pursuant to Tenn. Code Ann. § 66-5-
440            213 unless said disclosure has already been received in writing and acknowledged by Buyer. If the Property is in a PUD,
441            Seller agrees to make available copies of the development’s restrictive covenants, homeowner bylaws, and master deed
442            to Buyer upon request.

443        16. Method of Execution. The parties agree that signatures and initials transmitted by facsimile, other photocopy
444            transmittal, or by transmittal of digital signature as defined by the applicable State or Federal law will be acceptable and
445            may be treated as originals and that the final Purchase and Sale Agreement containing all signatures and initials may be
446            executed partially by original signature and partially on facsimile, other photocopy documents, or by digital signature as
447            defined by the applicable State or Federal law.

448        17. Exhibits and Addenda. All exhibits and/or addenda attached hereto, listed below, or referenced herein are made a part
449            of this Agreement:
450
451
452
453

454        18. Special Stipulations. The following Special Stipulations, if conflicting with any preceding paragraph, shall control:
455              -Buyer to have 10 day due diligence period.                         Due diligence period to begin on binding agreement date.
456
457              -Buyer accepts properties in their current AS-IS condition.
458              -Buyer will still exercise his right to have an inspection, which should be done within due diligence
459              period.
460
461              -All properties will have eviction notices submitted with everyone being out by the end of by
462              7/31/2018. All tenants currently residing in any of the addresses below to be out of said homes by
                 closing date of 7/31/2018.
463
464
465              Parcels included in this sale include:
466
467              4501 Xavier Dr
468              Antioch, TN 37013
                 Parcel ID 148-08-0-118.00,
469
470              1104 Lenore St
471              Nashville, TN 37206
                 Parcel ID 094-01-0-154.00,
472
473              453 Coventry Dr
                 Nashville, TN 37211
474              Parcel ID 147-02-0-158.00,
475
476              2419 Emmett Ave.
                 Nashville, TN 37206
477              Parcel ID 072-13-0-169.00
478
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479        19. Time Limit of Offer. This Offer may be withdrawn at any time before acceptance with Notice. Offer terminates if not
480            countered or accepted by __________
                                           9:00    o’clock ✘
                                                           □ a.m./ □ p.m.; on the ______
                                                                                   18th day of ____________________,
                                                                                                       July           ________.
                                                                                                                        2018
481        LEGAL DOCUMENTS: This is an important legal document creating valuable rights and obligations. If you have
482        any questions about it, you should review it with your attorney. Neither the Broker nor any Agent or Facilitator is
483        authorized or qualified to give you any advice about the advisability or legal effect of its provisions.
484        NOTE: Any provisions of this Agreement which are preceded by a box “□” must be marked to be a part of this
485        Agreement. By affixing your signature below, you also acknowledge that you have reviewed each page and have
486        received a copy of this Agreement.
487        IMPORTANT NOTICE: Never trust wiring instructions sent via email. Cyber criminals are hacking email accounts
488        and sending emails with fake wiring instructions. These emails are convincing and sophisticated.
489        Always independently confirm wiring instructions in person or via a telephone call to a trusted and verified phone
490        number. Never wire money without double-checking that the wiring instructions are correct.

491           Buyer hereby makes this offer.

492           _____________________________________________                               _____________________________________________
493           BUYER Jarred McNeal                                                         BUYER

494           _______________
                07/10/2018 at __________ o’clock □ am/ □ pm                                _______________ at __________ o’clock □ am/ □ pm
495           Offer Date                                                                   Offer Date

496           Seller hereby:
497                      □ ACCEPTS – accepts this offer.
498                      □ COUNTERS – accepts this offer subject to the attached Counter Offer(s).
499                      □ REJECTS this offer and makes no counter offer.

500           _____________________________________________                                _____________________________________________
501           SELLER                                                                       SELLER

502           _______________ at __________ o’clock □ am/ □ pm                             _______________ at __________ o’clock □ am/ □ pm
503           Date                                                                         Date
504        Binding Agreement Date. This instrument shall become a “Binding Agreement” on the date (“Binding Agreement Date”)
505        the last offeror, or licensee of the offeror, receives notice of offeree’s acceptance.
506        Notice of acceptance of the final offer was received by ________________________________________ on
507        _______________ at __________ o’clock □ am/ □ pm
508        ____________________________________________________________________________________________________
           For Information Purposes Only:
           Listing Company: _______________________________    Selling Company: _________________________________
           Listing Firm Address: ____________________________  Selling Firm Address: ______________________________
           Firm License No.: _______________________________   Firm License No.: _________________________________
           Firm Telephone No.: _____________________________   Firm Telephone No.: _______________________________
           Listing Licensee: ________________________________  Selling Licensee: __________________________________
           Licensee License Number: ________________________   Licensee License Number: ___________________________
           Licensee Email: _________________________________   Licensee Email: ____________________________________
           Home Owner’s / Condominium Association (“HOA/COA”):
           ____________________________________________________________________________________________________
           HOA / COA Phone: ______________________________     HOA/COA Email: __________________________________
           Property Management Company: ________________________________________________________________________
           Phone: ________________________________________     Email: ___________________________________________
           NOTE: This form is provided by TAR to its members for their use in real estate transactions and is to be used as is. By downloading and/or using this form,
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